                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 HALEY BRANDEBERRY,

         Plaintiff,                              Case No. 3:20-cv-00974

 v.                                              Judge Eli J. Richardson
                                                 Magistrate Judge Alistair E. Newbern
 WONDER PORCELAIN GROUP, LLC,

         Defendant.


                                           ORDER

        Due to a conflict with the Court’s schedule, the case management conference is RESET

for December 13, 2021 at 1:30 p.m. (Doc. No. 13.) The conference will be held by telephone.

Counsel for each party shall call (888) 557-8511 and enter access code 7819165# to participate.

        It is so ORDERED.

                                                    ____________________________________
                                                    ALISTAIR E. NEWBERN
                                                    United States Magistrate Judge




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